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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KALOMA CARDWELL,

Vv.

Plaintiff,

DAVIS POLK & WARDWELL LLP, Thomas Reid, 1:19-cv-10256-GHW

John Bick, William Chudd, Sophia Hudson, Harold
Birnbaum, Daniel Brass, Brian Wolfe, and John
Butler,

Defendants.

 

 

DECLARATION OF DAVID JEFFRIES IN SUPPORT OF THE
MOTION TO MODIFY THE COURTS SCHEDULING ORDER

 

I, David Jeffries, declare pursuant to 28 U.S.C. § 1746 as follows::

1.

2.

I am Counsel (hereinafter “Counsel”) for plaintiff (hereinafter “Cardwell”) in this action.
I submit this Declaration in support of the instant motion to modify the Court’s
scheduling order.

Counsel seeks permission to serve discovery demands on Defendants after the deadline
for such requests has passed.

On November 4, 2019, this action commenced with the filing of a complaint.

On December 20, 2019, a preliminary conference was held in this matter.

The parties were assigned a scheduling order directing, among other things that initial
requests for production of documents pursuant to Fed. R. Civ. P. 34 and interrogatories
pursuant to Rule 33.3 (a) of the Local Civil Rules of the Southern District of New York
be served by March 2, 2020.

On February 10, 2020, the Defendants moved to dismiss the complaint.

Counsel and Cardwell worked diligently to file an amended complaint by March 2, 2020.
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Counsel failed to timely serve discovery requests by March 2" in accordance with the
Court’s scheduling order or seek an extension of said deadline.

Counsel did not inform Cardwell of the March 2™ deadline to serve discovery.

In the days immediately following March 2, 2020, Counsel observed the increasing
severity of the COVID-19 pandemic and focused on making adjustments necessary to
minimize disruption to his various and ongoing legal matters on a real time basis.

On April 30, 2020, Defendants filed a partial motion to dismiss the amended complaint
and sent Counsel a letter requesting “a definitive schedule” by which plaintiff intended to
comply with his discovery obligations and noting “[w]e recognize the serious disruptions
caused by the present crisis, and remain willing to discuss these issue if helpful.”
Counsel informed Cardwell of the March 2, 2020 deadline on May 8, 2020 in connection
with Defendants’ April 30, 2020 letter. At this time, plaintiff was sheltering in place in
North Carolina and did not have access to all documents and information needed to
answer Defendants’ discovery requests.

As a result of COVID-19’s impact on Counsel’s legal matters and the interrelated impact
of COVID-19 and plaintiff's family hardships, Counsel was not able to fully respond to
Defendants’ April 30, 2020 letter until May 18, 2020.

On May 18", Counsel contacted Defendants and sent the following email, which
included plaintiff's discovery proposal: “[W]e appreciate your ‘willingness to discuss’
the ‘serious disruptions caused by the present crisis,’ and, specifically, the impact of such
disruptions on discovery.... [W]e seek your consent to serve responses and objections to
your outstanding requests and serve our own within 30 days of our response to the

motion to dismiss. Under [plaintiff's] proposal, both parties will propound its requests by
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July 4, 2020, and the extension will not compromise the current September 16, 2020 fact
discovery deadline. Please let us know if Defendants consent so that we can apprise the
Court of your position.”

16. On May 18, 2020, Defendants acknowledged receipt of plaintiff's discovery proposal and
stated in two separate emails that Defendants’ counsel would discuss plaintiff's proposal
with Defendants and follow-up with Defendants’ response.

17. Counsel and Cardwell worked diligently from April 30, 2020 through June 4, 2020, to
file his opposition to Defendants’ partial motion to dismiss by June 4, 2020.

18. On June 5, 2020, over two weeks after Counsel sent plaintiff's discovery proposal,
Defendants contacted Counsel to request a meet and confer about outstanding discovery
but did not comment on plaintiff's May 18, 2020 proposal.

19. In response to Defendants’ June 5, 2020 email and request, Counsel sent Defendants an
email where he (i) agreed to meet and confer and (ii) explicitly reminded Defendants of
plaintiff's May 18, 2020 discovery proposal.

20. During a meet and confer on June 10, 2020, Defendants; counsel informed Counsel that
Defendants would not consent to the proposal as of June 10, 2020 but explicitly remarked
that they would take the proposal back to Defendants for further consideration.

21. On June 17, 2020, counsel followed up with Defendants’ counsel to ascertain whether
Defendants’ had decided their position to the May 18, 2020 proposal. Counsel’s June 17,
2020 email stated: “I am following up on our last conversation. As discussed, the
proposal that we submitted to you on 5/18/2020 accounts for the pandemic's impact on

discovery, including my client's ability to access information and documentation that you
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requested. We repeat our request and ask again that you please let us know your client's
position on our proposal.”

22. Defendants’ replied to counsel’s June 17, 2020 email on June 22, 2020 and, for the first
time, indicated that Defendants rejected plaintiff's May 18, 2020 discovery proposal and
would not consider it any further.

23. On June 25, 2020, counsel informed Defendants that “[cJonsistent with our May 18th
letter we are in the process of responding to your interrogatories and document requests.
We are working to exceed the July 4th target date within our proposal.... To the extent
that you intend to file a joint letter on Monday please provide us a draft tomorrow so that
we can provide our inserts. If it remains reasonable for us to meet and confer I am
available at 3pm.”

24. The parties had a final meet and confer on June 26, 2020, but were unable to reach an

agreement.

I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: New York, New York yo)

July 13, 2020 f A.
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